                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION


UNITED STATES OF AMERICA            )                 DOCKET NO. 5:10CR53 -V
                                    )
            v.                      )
                                    )
JAMES PAUL BYRD,                    )
aka “STEPHANIE STEWART,”            )
                  Defendant.        )
____________________________________)

                              CONSENT PROTECTIVE ORDER

       THIS MATTER is before the Court on Defendant’s motion to share copies of discovery

with a retained expert. By consent of Counsel for the Defendant herein and the Government, the

Court concludes that an order should be entered in this case governing access to certain discovery

material.

       IT IS HEREBY ORDERED, pursuant to Fed. R. Crim. Pro. 16(d), that defense counsel

may provide copies of the discovery in his possession to his retained expert at Computer

Forensics Associates but only in complete accordance with the following restrictions:

       1.      Any copy of the discovery material will be used solely for litigations purposes in

the instant manner and the expert who has been shown discovery pursuant to this Order shall not

discuss or disclose the contents thereof to anyone other than members of the defense team

(counsel, paralegals, investigators, or secretarial staff) who disclosed such materials.

       2.      Defense counsel shall take appropriate measures to ensure that its expert is

provided with a copy of this protective order and understands the limited purpose for which the

material is being disclosed and the prohibition against further dissemination.

       3.      All such material will be maintained in a secure location at all times to prevent



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access by any unauthorized individual

       4.      Following final disposition of this mater, all such material shall be promptly

returned to the United States.

       IT IS FURTHER ORDERED THAT, in the event the terms of this Order are violated,

defense counsel shall advise opposing counsel immediately of the nature and circumstances of

such violations.


       SO ORDERED.



                                                Signed: February 16, 2011




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